        Case 4:21-cv-05059-TOR           ECF No. 47   filed 04/29/21   PageID.775 Page 1 of 5



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 2   On behalf of The American Civil Liberties
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 4   206-622-1604
 5   Katherine M. Forster, CA Bar #217609
     Admitted pro hac vice
 6   Munger, Tolles & Olson LLP
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 7   Los Angeles, CA 90071
     213-683-9538
 8
 9                             UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON AT RICHLAND
10
     JOHN DOE 1; JOHN DOE 2; JANE
11   DOE 1; JANE DOE 2; JANE DOE 3;                    No. 4:21-cv-05059-TOR
     and all persons similarly situated,
12                                                     EXPEDITED SECOND MOTION TO
                               Plaintiffs,             EXTEND TEMPORARY
13                                                     RESTRAINING ORDER OR, IN THE
                         v.                            ALTERNATIVE, MOTION FOR
14                                                     EXPEDITED HEARING ON
     WASHINGTON STATE                                  MOTION FOR PRELIMINARY
15   DEPARTMENT OF CORRECTIONS;                        INJUNCTION
     STEPHEN SINCLAIR, Secretary of The
16   Department of Corrections, in his official        Noting Date: May 6, 2021
     capacity,                                         Without Oral Argument
17
                               Defendants,
18
                         and
19
     BONNEVILLE INTERNATIONAL,
20   INC. a Utah Corporation, d.b.a KIRO
     Radio 97.3 FM; THE MCCLATCHY
21   COMPANY, LLC, a California Limited
     Liability Company, d.b.a. The Tacoma
22   News Tribune; and ANDREA KELLY,
     an individual,
23
                               Interested Parties.
      47306141.1 EXPEDITED SECOND MOT. TO EXTEND TRO OR, IN THE
                                                                          MACDONALD HOAGUE & BAYLESS
      ALTERNATIVE, MOT. FOR EXPEDITED HEARING ON MOT. FOR                   705 Second Avenue, Suite 1500
      PRELIM. INJ. - 1                                                         Seattle, Washington 98104
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     2098.08 od290301
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 1               Come now Plaintiffs, by and through their counsel of record, and respectfully
 2   move this Court for an order extending the April 8, 2021 Temporary Restraining
 3   Order (“TRO”) issued in this matter until the Court rules on Plaintiffs’ Motion for
 4   Preliminary Injunction (“PI Motion”) or, in the alternative, setting the PI Motion for
 5   expedited hearing on May 6, 2021, the date on which the TRO expires at midnight.
 6   The requested relief is necessary in order to prevent Defendants from releasing the
 7   records at issue in the litigation and thus to prevent irreparable harm to Plaintiffs
 8   during the briefing and consideration of their PI Motion, which is currently set for
 9   hearing on May 12, 2021. This Court found in its April 8 ruling that interim relief
10   pending a decision on the PI Motion is necessary to prevent irreparable harm to
11   Plaintiffs here, TRO at 5-6, and nothing has changed.
12               Plaintiffs’ counsel has contacted the Assistant Attorney General representing
13   Defendants in this matter, who has stated that Defendants will be opposing further
14   extension of the TRO because they do not agree with the scope of the order.
15               A TRO may be extended upon a showing of good cause. F.R.C.P. 65(b)(2) (a
16   TRO “expires at the time after entry—not to exceed 14 days—that the court sets,
17   unless before that time the court, for good cause, extends it for a like period or the
18   adverse party consents to a longer extension”). Good cause for an extension exists
19   here because Defendants have indicated that they will release the requested records
20   absent a court order preventing such disclosure. See Frenchman Declaration in
21   Support of PI Motion ¶ 11 & Ex. B. The TRO issued by this Court to prevent
22   irreparable harm to Plaintiffs expires at midnight on May 6, 2021, but the hearing
23   on Plaintiffs’ PI Motion is not until May 12, 2021. If the TRO is not extended,

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 1   Defendants will release the records and the very harm that Plaintiffs’ lawsuit seeks
 2   to prevent will occur. As more fully explained in the PI Motion, once the records are
 3   released, there will be no turning back—Plaintiffs’ safety and lives will be placed in
 4   great peril, and they will be left without any possible remedy. See generally PI
 5   Motion and supporting declarations. This is the very definition of good cause.
 6               In the alternative, Plaintiffs request that the PI Motion be set for expedited
 7   hearing on May 6, 2021, the date on which the TRO currently expires. Plaintiffs’
 8   alternative motion for an expedited hearing is proper under the local rules:
 9               To seek an expedited hearing on a time sensitive matter, the moving
10               party must file a motion to expedite, which (1) demonstrates good
                 cause, (2) states the position of the opposing party, and (3) sets a date
11               of hearing that is not less than 7 days after the motion's filing.

12   Local Rule 7(i)(2)(C). As set forth above, good cause exists to expedite the hearing

13   on the PI Motion because it will prevent irreparable harm to Plaintiffs. Indeed, absent

14   an extension of the TRO, an expedited hearing on the PI Motion is the only way

15   Plaintiffs can obtain effective relief. Defendants will apparently oppose this motion,

16   not because they do not think that any extension of the TRO is agreeable, but only

17   because they need clarification on the scope of the TRO. And finally, the alternative

18   motion is timely because it seeks a hearing on May 6, 2021, which is seven days

19   after this motion was filed.

20               For the above reasons, Plaintiffs respectfully request that this Court extend

21   the TRO issued on April 22, 2021, in this matter to and including the date that it

22   rules on Plaintiffs’ PI Motion or, in the alternative, set the PI Motion for expedited

23   hearing on May 6, 2021.


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 1               Respectfully submitted,
 2               Dated this 29th day of April, 2021.
 3    MacDonald Hoague & Bayless                       Munger, Tolles & Olson LLP
 4
 5    By: s/ Joe Shaeffer_______________               By: s/ Katherine M. Forster________
      Joe Shaeffer, WSBA #33273                        Katherine M. Forster, CA Bar #217609
 6    joe@mhb.com                                      Admitted pro hac vice
      Attorneys for Plaintiffs                         Katherine.Forster@mto.com
 7    On behalf of The American Civil                  Attorneys for Plaintiffs
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11
12                                                     Disability Rights Washington
       American Civil Liberties Union of
13     Washington Foundation

14
      By: s/ Nancy Talner______________                By: s/ Ethan D. Frenchman________
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17    lnowlin@aclu-wa.org                              dannyw@dr-wa.org
      By: s/ Antoinette M. Davis_________              By: s/ Heather McKimmie__________
18    Antoinette M. Davis, WSBA #29821                 Heather McKimmie, WSBA #36730
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19                                                     By: s/ David Carlson______________
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22                                                     Seattle, WA 98104
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23


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 1                                 DECLARATION OF SERVICE
 2               I certify that on the date noted below I electronically filed the above-entitled
 3   document with the Clerk of the Court using the CM/ECF system which will send
 4   notification of such filing to the following persons:
 5   Attorneys for Defendants DOC and Stephen Sinclair:
 6   Washington State Attorney General’s Office
 7   Candie Dibble, candie.dibble@atg.wa.gov
 8   Patty E. Willoughby, patty.willoughby@atg.wa.gov
 9
10   Attorney for Interested Parties:
11   Andrea Kelly:
12   Candice Jackson, cjackson@fmglaw.com
13
14   The McClatchy Company, LLC:
15   Michele Earl-Hubbard, michele@alliedlawgroup.com
16
17   Bonneville International, Inc.:
18   Jason Englund, jenglund@bonneville.com
19               DATED this 29th day of April, 2021, at Seattle, Washington.
20
                                                       s/ Marry Marze
21                                                Marry Marze, Legal Assistant
22
23


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